Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                           Exhibit 1 Page 1 of 27



                    IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEW JERSEY

     IN RE:                        .          Case No. 23-12825(MBK)
                                   .
     LTL MANAGEMENT LLC,           .
                                   .          U.S. Courthouse
               Debtor.             .          402 East State Street
                                   .          Trenton, NJ 08608
     . . . . . . . . . . . . . . . .
                                   .
     LTL MANAGEMENT LLC,           .          Adv. No. 23-01092(MBK)
                                   .
               Plaintiff,          .
                                   .
          v.                       .
                                   .
     THOSE PARTIES LISTED ON       .
     APPENDIX A TO COMPLAINT AND   .
     JOHN AND JANE DOES 1-1000,    .
                                   .
               Defendants.         .          Thursday, April 20, 2023
     . . . . . . . . . . . . . . . .          12:02 p.m.

                            TRANSCRIPT OF RULING ON
          MEMORANDUM OF LAW IN SUPPORT OF MOTION BY MOVANT ANTHONY
        HERNANDEZ VALADEZ FOR AN ORDER (I) GRANTING RELIEF FROM THE
       AUTOMATIC STAY, SECOND AMENDED EX PARTY TEMPORARY RESTRAINING
     ORDER, AND ANTICIPATED PRELIMINARY INJUNCTION, AND (II) WAIVING
           THE FOURTEEN-DAY STAY UNDER FEDERAL RULE OF BANKRUPTCY
        PROCEDURE 400l(a)(3) [DOCKET 7l]; AND DEBTOR'S MOTION FOR AN
      ORDER (I) DECLARING THAT THE AUTOMATIC STAY APPLIES OR EXTENDS
        TO CERTAIN ACTIONS AGAINST NON DEBTORS OR (II) PRELIMINARILY
            ENJOINING SUCH ACTIONS AND (III) GRANTING A TEMPORARY
       RESTRAINING ORDER EX PARTE PENDING A HEARING ON A PRELIMINARY
         INJUNCTION [ADVERSARY DOCKET 2]; AND MOTION TO SEAL; AND
                          SERVICE PROCEDURES MOTION
                    BEFORE THE HONORABLE MICHAEL B. KAPLAN
                     UNITED STATES BANKRUPTCY COURT JUDGE

     Audio Operator:                          Kiya Martin

     Proceedings recorded by electronic sound recording, transcript
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     ______________________________________________________________

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                           Exhibit 1 Page 2 of 27

                                                                                2
     APPEARANCES:

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                           Exhibit 1 Page 3 of 27

                                                                                3
     APPEARANCES CONT'D:

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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09    Desc
                           Exhibit 1 Page 4 of 27

                                                                                 4
  1             THE COURT:     Okay.   Good afternoon, everyone.

  2             This is Judge Kaplan.       Getting a little feedback.

  3             UNIDENTIFIED SPEAKER:       Good afternoon, Your Honor.

  4             THE COURT:     Good afternoon.

  5             I hope everybody's doing well.         Bear with me as I go

  6 through the usual mechanics of getting us up from an IT

  7 perspective.

  8             All right.     Thank you.    This afternoon I intend to

  9 address the pending motions with respect to the preliminary

 10 injunction based on the debtor's verified complaint, as well as

 11 the pending relief from automatic stay filed by Mr. Satterley

 12 on behalf of Emory Valadez.

 13             First, some preliminary matters, if I may.           The Court

 14 is in receipt of submitted evidence and deposition designations

 15 proffered, by both the debtor and the committee, TCC.                The

 16 Court is also in receipt of the objection filed by the TCC to

 17 certain designations of testimony with respect to Mr. Haas,

 18 Mr. Murdica, and Mr. Birchfield.

 19             At this point in time, the Court is accepting into

 20 evidence all of the evidence and designations submitted by both

 21 the debtor and the Committee.         The Court is overruling the

 22 objections raised by the Committee with respect to those

 23 identified depositions and testimony.          But the Court is going

 24 to note that the Court in reaching its ruling this afternoon

 25 has accorded zero weight to the depositions and the evidence




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09    Desc
                           Exhibit 1 Page 5 of 27

                                                                                   5
  1 reflected in the testimony.

  2             The Court is also in receipt of supplemental

  3 submissions from you all.        Thank you.    We have the debtor's

  4 supplemental submission dated April 19th.           We have the

  5 Committee's objection to it.        We have supplemental submissions

  6 on behalf of the Bergeron's, on behalf of Maune Raichle's

  7 clients, Katherine Tolleson, on behalf of Paul Crouch.               We have

  8 also, the Court is in receipt of an initial statement on behalf

  9 of an ad hoc committee supporting talc claimants.

 10             Oh, let me go back.       With respect to the evidence, I

 11 have also received the U.S. Trustee's objection with respect to

 12 the use of confidentiality designations.           And the Court agrees

 13 that the evidence has been accepted for purposes of the PI

 14 motion only and not for any other purpose in this case.               I

 15 think that covers all these supplemental submissions.                And the

 16 Court has had the opportunity to review these this morning.

 17             I'm prepared to read my ruling into the record.               I

 18 hope you all will bear with me in the time it takes.

 19             I sat through yours.

 20             All right.     One of the advantages of conducting the

 21 hearing in a hybrid fashion, both live and remote this past

 22 Tuesday, was that my wife could log in and see that I was

 23 actually working and in Court for over nine hours.             And when I

 24 got home, she asked me why I didn't cut off the arguments and

 25 the endless PowerPoint presentations sooner.            I told her that I




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                           Exhibit 1 Page 6 of 27

                                                                                6
  1 was looking for answers, that it was repeated often that the

  2 world is watching and I wanted every opportunity to understand

  3 the facts and get answers to my concerns.           I believe that the

  4 Court and the world is entitled to such answers.

  5             Well, frankly, after Tuesday, I have more questions

  6 than answers.     The fundamental question addressed by the

  7 parties is whether the debtor has a realistic possibility of

  8 success.    It is the linchpin of the four-prong injunction test

  9 employed universally.       In Chapter 11, the inquiry is more

 10 focused on whether the debtor has a reasonable possibility of

 11 reorganizing, which needless to say, at a minimum, requires

 12 that the debtor survive any motions to dismiss for cause,

 13 including lack of good faith.

 14             Our Third Circuit now has made clear that it views

 15 the gateway to good faith being a determination that a debtor

 16 is in financial distress.        Mr. Maimon, among others, argued

 17 that this determination should be straightforward.             Did

 18 anything occur in the two hours and 11 minutes between filings

 19 and after the Third Circuit's ruling, which changed the

 20 debtor's financial situation and created distress.

 21             I'm not sure that this is the correct question.

 22 Rather, I think it must be whether anything changed in the

 23 debtor's financial picture.        Since October of '21, the date of

 24 the first filing and the period fixed for purposes of the five-

 25 day trial undertaken in February of 2022, and April 4, 2023,




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                           Exhibit 1 Page 7 of 27

                                                                                  7
  1 the date of the second filing.

  2             Well, certain things have changed.          Claims against

  3 the debtor have soared from approximately 41,000 to in all

  4 likelihood well over a 100,000.         Are these new claims

  5 supportable?     Tuesday provided more speculation than answers.

  6 Does the increased volume of claims add to or create financial

  7 distress for this debtor?        Maybe.   Maybe not.

  8             Since the first filing, the acknowledged floor for

  9 the debtor's talc liability has increased from 2 billion to 8.9

 10 billion with questions remaining as to whether this sum would

 11 cover the billions claim due for third-party providers, state

 12 regulators, Canadian class claimants, indemnified parties, and

 13 others.

 14             Does this increase floor of debt add to or create

 15 financial distress for this debtor?          Again, maybe.     Maybe not.

 16 Since the first filing, the debtor's funding resources have

 17 been reduced from 61 billion to possibly 30 billion plus.               The

 18 reduction certainly appears manufactured by the debtor, HoldCo,

 19 and J&J in response to the Third Circuit's ruling.             Does this

 20 reduction in funding add to or create financial distress for

 21 this debtor?     Maybe.    Maybe not.

 22             Does the manner in which the transactions were

 23 undertaken give rise to an independent bases for finding bad

 24 faith?    Possibly.    Do the transactions give rise to fraudulent

 25 transfer liability for the benefit of the debtor's creditors?




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                           Exhibit 1 Page 8 of 27

                                                                                 8
  1 Well, constructive fraud generally, under the Bankruptcy Code

  2 and state law, requires a determination of insolvency.               Can the

  3 Court conclude after Tuesday's hearings that the debtor's

  4 liabilities exceed its assets?         I don't think so since the

  5 extent of the liabilities has not been anywhere close to being

  6 fixed.

  7              The Third Circuit specifically cautioned and

  8 admonished against casual calculations and back of the envelope

  9 forecasts.      Given the limited record here, this Court cannot

 10 make an informed determination or comparison of the assets and

 11 liabilities of this debtor in this bankruptcy, which according

 12 to the Third Circuit, is where the inquiry should be focused.

 13              As to actual fraud, can the Court conclude that

 14 there's been an actual intent to hinder, delay, and defraud

 15 creditors?      Maybe.   But proof of subjective intent may be

 16 difficult to determine without knowing the extent of the

 17 liabilities and whether it's reasonable for the debtor to

 18 believe that its remaining assets are sufficient to cover such

 19 liabilities.

 20              And for the Court, there was a very concerning

 21 question regarding this loss of value in the funding agreements

 22 and its potential impact on the interest of present and future

 23 creditors.      What happens if this case is dismissed?         I know the

 24 lawyers that represent these claimants will fight zealously and

 25 tirelessly for their individual clients, as they should.               But




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                           Exhibit 1 Page 9 of 27

                                                                                9
  1 who pursues the claims for the possible loss in funding value?

  2 Who will fight for the other a 100,000 or so creditors or

  3 claimants to pursue recovery that may be available because of

  4 these transactions?       Outside of bankruptcy, who will fight to

  5 protect the interest of future claimants?

  6             Now, it may be that this Court determines that the

  7 last series of questions, or in fact any of the other

  8 questions, are not relevant.        Once the Court hears from the

  9 movants with regard to the anticipated motion to dismiss,

 10 undoubtedly the debtor has an uphill battle.            There are

 11 unresolved issues such as the voidability of the 2021 funding

 12 agreement, the potentially largest fraudulent transfer

 13 undertaken in history, as the phrase has been proffered; the

 14 need to acquire 75 percent approval for the plan.             But at this

 15 point, with so many unanswered questions, the Court cannot

 16 reach a determination that there is no possibility of a

 17 successful reorganization premised upon the objections of

 18 certain claimants, vehement as they may be.

 19             The Court cannot at this juncture sua sponte dismiss

 20 this case or rely on bad faith as a basis to deny the

 21 preliminary injunction.       That being said, the Court is

 22 skeptical and will require a well-supported and timely showing

 23 by the debtor that this reorganization has a meaningful chance.

 24             For purposes of today, the Court refers and

 25 incorporates into this ruling its analyses and discussions




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 10 of 27

                                                                                10
  1 found in its prior published opinions at 638 B.R. 291, 640 B.R.

  2 at 322, and 645 B.R. 59.        Specifically, these prior opinions

  3 explicate the Court's authority to hear, decide, and enter a

  4 final order and judgment in the adversary proceeding, which

  5 would have the effect of extending the automatic stay and

  6 enjoining litigation against non-debtor third parties relative

  7 to the debtor talc claims as defined in the verified complaint.

  8             In sum, the Court concludes that Section 362(a) and

  9 Section 105(a), and/or the Court's inherent powers can each

 10 serve as an independent basis to extend the stay to non-debtor

 11 third parties.      In so concluding, the Court continues to follow

 12 the Philadelphia newspapers approach set forth at 423 B.R. 102,

 13 which considers whether there is jurisdiction to enter the

 14 injunction, whether the extension of the automatic stay to non-

 15 debtors is appropriate, and whether the Court should in its

 16 discretion, issue the injunction.

 17             As in the last case, the debtor has asked for a

 18 preliminary injunction and/or an extension of the stay to

 19 certain non-debtor parties.        The UST, the TCC, and

 20 representatives of certain claimants, among others, oppose this

 21 request.    At the core of all these objections is the argument

 22 that the debtor cannot confirm a plan, that there is no

 23 likelihood of success because the objecting claimants will not

 24 agree to a plan proposed by the debtor.           Yet the debtor comes

 25 before this Court with an alleged 55,000 or more claimants in




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 11 of 27

                                                                                11
  1 support of a proposed settlement.

  2             This Court cannot discount those claimant's rights

  3 and preferences in favor of others.          Notwithstanding, claimants

  4 who have had over the past 18 months their claims and

  5 litigation stalled during the pendency of the prior bankruptcy,

  6 should not lose more valuable time.          Therefore, I have

  7 determined that the TRO currently in place should be dissolved

  8 and replaced with a far more limited preliminary injunction.

  9             Needless to say, the automatic stay remains in effect

 10 as to the debtor.      The more limited preliminary injunction to

 11 be entered will prohibit the commencement or continuation of

 12 any trial against any of the protected parties identified in

 13 Appendix B to the verified complaint, as amended, through and

 14 including June 15, 2023, a period of approximately 60 days.

 15 This is aimed at preventing the liquidation of claims for which

 16 this debtor may have liability with the liquidation occurring

 17 outside of this bankruptcy.

 18             But to be clear, I am neither enjoining nor

 19 restraining the filing of new complaints against the protected

 20 parties, nor am I enjoining or restraining any ongoing

 21 discovery or other pretrial matters.          Given the very limited

 22 scope of these restraints, the Court did not, and frankly could

 23 not, on the factual record examine the basis of relief for each

 24 of the specific protected parties.

 25             The restraints included in the current amended TRO




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 12 of 27

                                                                                12
  1 will remain in effect as to the MDL that's currently pending

  2 before Judge Michael Shipp.        I have spoken with Judge Shipp and

  3 we both agree that the continuing restraints as to the MDL

  4 should and will be revisited along with the continuing

  5 appropriateness of the preliminary injunction itself at the

  6 Court's omnibus hearing scheduled for May 22, 2023.

  7             With respect to Section 108(c) tolling provisions

  8 relative to the statute of limitations for unfiled claims, the

  9 Court's preliminary injunction order will include language that

 10 the automatic stay under Section 362(a) remains in effect for

 11 unfiled claims unless the claimant, through counsel, notifies

 12 the debtor in writing of his, her, or their interests and

 13 intent to proceed with the filing of a complaint.

 14             The purpose of this language is to ensure that such

 15 claimants who wish to defer filing a complaint and paying the

 16 necessary filing fees while the bankruptcy case unfolds are not

 17 placed in the position of having to file and incur that

 18 expense.    The Court welcomes any and all suggestions as to

 19 workable language that addresses this issue.

 20             Finally, the Court recognizes the debtor's concern

 21 that a full throttled resumption of litigation may place

 22 immediate burdens on staff and potential witnesses, such as a

 23 proffered 30(b)(6) witness and sees no reason why transcripts

 24 of such initial depositions can't be provided in lieu of

 25 multiple repeat and duplicative depositions across the country.




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 13 of 27

                                                                                13
  1 If a problem arises in this regard, the Court will address this

  2 and any specific problems at a future date.

  3              In reaching today's ruling, that Court employs its

  4 discretion and judgment to balance the interest of the tens of

  5 thousands of claimants who wish to go forward outside of

  6 bankruptcy, the interest of the tens of thousands of claimants

  7 who wish to pursue settlement within this case, and the

  8 interest of the debtor in pursuing a fair and equitable

  9 resolution of these claims through a bankruptcy reorganization.

 10              I wish to make one thing clear.        Contrary to some

 11 suggestions, the Court is not endeavoring to make policy.               That

 12 has never been the Court's aim.         Rather, the Court is engaged

 13 in trying to do its best to advance the interest of creditors

 14 as a whole, a task I and my bankruptcy judge colleagues

 15 undertake daily.

 16              With respect to the Valadez matter, I am troubled

 17 with the same issue I’ve had to tackle in the prior case,

 18 whether it is ever appropriate to start picking and choosing

 19 which claimant among thousands should be permitted to go

 20 forward and liquidate claims while others abide by the process.

 21 From everything I have heard and read there remains

 22 considerable tasks, including expert discovery and motion

 23 practice, which must be completed before the matter is ready

 24 for trial.

 25              Mr. Satterley, I see you’re on.        There are no present




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 14 of 27

                                                                                14
  1 restraints preventing you from moving forward in this regard

  2 apart from proceeding to trial.         I will provide your client the

  3 opportunity to quickly revisit this issue by carrying your

  4 motion to May 3rd, and if appropriate, that’s the next

  5 scheduled omnibus hearing, and if appropriate to the May 22nd

  6 hearing, to hear where you stand with respect to pretrial

  7 matters.

  8              Alternatively, you may submit a form of order

  9 granting in part and denying in part your requested relief so

 10 that you may pursue an immediate appeal.           You can advise

 11 chambers after this hearing as to your preference.

 12              Finally, as noted, on Tuesday as part of the text

 13 order in the first case, which terminated mediation due to the

 14 anticipated dismissal of the case, I urge the parties to

 15 continue settlement discussions.         I have not altered my view

 16 that mediation is important.        Indeed, considering the debtors’

 17 intent to file a plan in short order I believe mediation is

 18 critical and should begin as soon as possible.

 19              The parties must have confidence in the mediator, and

 20 the mediator must have plenary authority to conduct any

 21 mediation as he, she, or they deem appropriate.            I know the

 22 debtor has filed a motion to reappoint Mr. Russo and Judge

 23 Schneider.      Notwithstanding, I am directing the Committee and

 24 the debtor to provide me in confidence with three names of

 25 proposed mediators by the close of business this coming




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 15 of 27

                                                                                15
  1 Wednesday.      I am away out of state until then.        My inclination

  2 is to appoint a single mediator to start who will be subject to

  3 the same mediation protocol employed in the prior case.              Thank

  4 you.

  5              I will ask the debtor to settle a form of order with

  6 the Committee and others, reflecting my ruling today, of course

  7 by reference.     And fearfully I will ask are there any

  8 questions?

  9              MR. SATTERLEY:     Yes, Your Honor.

 10              THE COURT:    Well --

 11              MR. SATTERLEY:     I’m sorry.

 12              THE COURT:    We’ll start -- Mr. Satterley?

 13              MR. SATTERLEY:     Yes.   So, obviously I got -- I’m

 14 going to read Your Honor’s -- the transcript whenever we get it

 15 today, and I need to consult with appellate counsel, but I just

 16 got a little confused as you read along.

 17              With regards to the granting of the -- or the

 18 decision to appeal, will Your Honor allow me and certify the

 19 issue to the Third Circuit?        I need to know that so I can talk

 20 to appellate counsel also as I advised Your Honor on the 11th.

 21 I advised Your Honor that it was my intention to take a writ --

 22 emergency writ because of the pending death of my client, so I

 23 just wanted to find out from Your Honor will you give me

 24 permission, if my appellate counsel tells me it’s appropriate,

 25 to go to the Third Circuit directly?




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Case 23-12825-MBK    Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09    Desc
                           Exhibit 1 Page 16 of 27

                                                                                   16
  1             THE COURT:      The best I can do is give you the

  2 authorization to make the request to me formally.              I have to --

  3             MR. SATTERLEY:       Yes, Your Honor.

  4             THE COURT:      -- allow other parties to weigh in on it.

  5             MR. JONAS:      Your Honor, may we have the same

  6 response?       Because we would intend to do so, as well.

  7             THE COURT:      The same response would be appropriate.

  8             MR. JONAS:      Thank you, Your Honor.

  9             MS. BROWN:      Your Honor, this is Allie Brown.          Could I

 10 ask, I understand the Court’s ruling.           Given the significance

 11 of the discovery that will no doubt be coming our way very

 12 soon, could we ask that the order not go into effect until

 13 Monday at nine a.m. so that we can alert counsel throughout the

 14 country who handle these matters on a local basis and have no

 15 visibility into what’s been going on here, so they are prepared

 16 to deal with letters to the Court, and calls to the Court in

 17 the individual cases they are monitoring?            I fear if we don’t

 18 do that it could be somewhat chaotic, as discovery requests

 19 start immediately.

 20             THE COURT:      Well, as a practical --

 21             MR. SATTERLEY:       May I respond to that, Your Honor?

 22             THE COURT:      Let me -- I’ll let you respond.           Let me

 23 -- as a practical matter I don’t have an order.             I asked the

 24 parties to settle an order.         And I leave on Saturday morning,

 25 and I’ll be out of the state.          So --




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09    Desc
                          Exhibit 1 Page 17 of 27

                                                                                 17
  1             MS. BROWN:     Understood.

  2             THE COURT:     I don’t know how to respond to you.

  3 Certainly --

  4             MS. BROWN:     I think I understand, Your Honor.          So, it

  5 will be dependent on us proposing something to the Court --

  6             THE COURT:     Right.

  7             MS. BROWN:     -- and there is at least a few days time

  8 on that so we can get the logistics in order.

  9             THE COURT:     Right.   With Mr. Satterley --

 10             MS. BROWN:     Understood.

 11             THE COURT:     Yes.   Thank you.

 12             MR. SATTERLEY:      So, this -- counsel has been aware of

 13 Your Honor’s tentative since last Thursday, and Your Honor, you

 14 know, while it’s more formalistic and you put it all in more

 15 detail, they have been aware, and just as Your Honor directed

 16 me to do, I went to Judge Seabolt and asked him to do exactly

 17 what Your Honor said, move the hearing until today.             And

 18 counsel for J&J and all the retailers were present, and they

 19 said I correctly stated what Your Honor said.            There is

 20 absolutely no reason to further delay, because trial courts,

 21 state courts have a docket also, and they need to manage their

 22 docket.

 23             So I would request, Your Honor, to allow us to advise

 24 the state courts, advise the trial judges the procedure.

 25 Obviously various state laws control with regards to how much




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 18 of 27

                                                                                18
  1 time they have to respond to discovery.           No state that I’m

  2 aware of requires the debtor -- I mean, the non-debtor, the

  3 non-debtor to respond immediately to discovery.            Usually it’s

  4 20 days, or 30 days, or 45 days.

  5             So even if we were to tender discovery today, it’s

  6 not going to be tomorrow that they’re going to respond to it.

  7 So I object to Mrs. Brown’s request to once again further delay

  8 the resumption of our client’s rights to go -- and because, for

  9 example, Your Honor, one of the cases I filed an objection to

 10 was Mr. Eagles (phonetic).        His trial, Mr. Eagles’ trial was

 11 already set for April the 2nd.         Because of the TRO we moved it

 12 to May the 1st.      And now I was going to tell Judge Seabolt to

 13 move it to June the 15th.        And what Ms. Brown is in essence

 14 asking for is in Mr. Eagles’ case, who is dying of

 15 mesothelioma, that we would not be able to start preparing that

 16 case further for trial.       So I would object to Mrs. Brown’s

 17 request, and allow us to begin the preparation so that these

 18 individuals are not further harmed.

 19             THE COURT:     I think I can --

 20             MS. BROWN:     Your Honor --

 21             THE COURT:     Well, Ms. Brown, I think I can address

 22 this -- and I see other hands raised.          I do not have an

 23 objection -- I know you all will secure a copy of this

 24 transcript quickly.       I have no objection to you providing it to

 25 non-bankruptcy courts with the note that a formal order has not




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 19 of 27

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  1 been entered.     It will speak for itself.

  2              MS. BROWN:    And, Your Honor, until the formal order

  3 is entered we will have at least a few days to organize the

  4 local counsel and be prepared to respond?

  5              THE COURT:    I can’t see any court acting to prejudice

  6 those interests in the days it will take.           Work hard, get me an

  7 order.    I will enter it even if I am not in the state.             But --

  8              MS. BROWN:    Understood, Your Honor.

  9              THE COURT:    All right.    Mr. Placitella?

 10              MR. PLACITELLA:     Good morning, Your Honor.       Thank you

 11 very much.      In your decision you referenced Appendix B to the

 12 Notice of Filing.      There was an amended Appendix B that listed

 13 Janssen and Kenvue that we received with no notice and no

 14 evidence offered during the hearing, and I want to understand

 15 the scope of your decision if it includes Janssen and Kenvue

 16 for which no evidence was submitted during the hearing, and for

 17 which Mr. Kim said he had no knowledge whatsoever.

 18              THE COURT:    Well, I anticipated your question, and

 19 candidly, I can’t see how your clients would be prejudiced with

 20 no trial to occur.      That’s the only limitation until June in a

 21 case that where issue hasn’t even been joined yet.             So, but if

 22 you want to explain --

 23              MR. PLACITELLA:     But the issue, Your Honor --

 24              THE COURT:    If you want to address it --

 25              MR. PLACITELLA:     Respectfully, Your Honor, yes,




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09    Desc
                          Exhibit 1 Page 20 of 27

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  1 because the issue is whether the standard has been met for a

  2 temporary restraining order.        And with no evidence, and in

  3 fact, they submitted a brief to you saying whatever happened

  4 after Holdco is irrelevant, with no evidence, even with Your

  5 Honor’s best intent there is no basis even for a short

  6 restraint to stop the case against Kenvue or Janssen.                The

  7 operation of -- I’m assuming what’s going to happen is they are

  8 going to file a motion to dismiss, and the trial court will

  9 make a determination.

 10              But, you know, having them give notice, you know,

 11 after five a day before the hearing, put on no evidence and say

 12 oh, well, protect them too when Mr. Kim doesn’t even know why

 13 it was included, respectfully, I don’t think it should be

 14 included.

 15              THE COURT:    All right.    Fair enough.     At this

 16 juncture I am going to excise out those two defendants from the

 17 Exhibit A.      I will preserve the debtor’s rights to come back

 18 before me to include them at a later date if it becomes

 19 relevant.

 20              MR. PLACITELLA:      Thank you, Your Honor.

 21              THE COURT:    Thank you.

 22              MR. JONAS:    Your Honor?

 23              THE COURT:    Yes?

 24              MR. JONAS:    Your Honor, it’s Jeff Jonas from Brown,

 25 Rudnick, and with me is Melanie Cyganowski from Otterbourg on




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 21 of 27

                                                                                21
  1 behalf of the Committee, TCC.         Your Honor, I would ask that you

  2 sua sponte grant the Committee derivative standing to

  3 investigate and bring state court causes of action and claims.

  4 I think -- I hope, Your Honor, that our hearing, trial earlier

  5 this week, if nothing else, demonstrated, and I think you have

  6 sufficient evidence as to the futility of expecting this debtor

  7 to investigate, never mind bring, those claims and causes of

  8 action.    So we would ask you to do that now, Your Honor.

  9             THE COURT:     All right.    Does the debtor wish to be

 10 heard?    Mr. Gordon?

 11             MR. GORDON:     Greg Gordon, Your Honor, Jones Day, on

 12 behalf of the debtor.       I don’t think it’s appropriate to make

 13 that request orally for a sua sponte ruling.            There are

 14 standards that have to be met, including advising the Court and

 15 the parties what claims we’re talking about, and there’s got to

 16 be a showing that they are colorable claims.            And so from our

 17 perspective we think, as you handled the other matter, a motion

 18 should be filed and we should be given the right to respond to

 19 it.

 20             THE COURT:     All right.    I knew there would be a

 21 danger in conducting this not in a webinar format where counsel

 22 had the ability to ask questions.         I’m not prepared or inclined

 23 to grant sua sponte relief at this -- or any further relief

 24 today.    The purpose for today’s hearing was to try to read a

 25 ruling and direct the parties to come to a form of order.




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09    Desc
                          Exhibit 1 Page 22 of 27

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  1              MR. GORDON:    And, Your Honor, I wanted to spend one

  2 minute on Mr. Placitella, if I could.          I obviously heard Your

  3 Honor’s ruling.      I just wanted to indicate that he did say in

  4 court, as I recall, that the basis for the claims is successor

  5 in interest, which would be property of the estate, and

  6 therefore those claims would be barred by the automatic stay.

  7 But we heard Your Honor.        We’ll handle that appropriately.

  8 We’ll file a motion as necessary to get the relief that we

  9 think would confirm that those claims are barred by the

 10 automatic stay.

 11              THE COURT:    In fairness to Mr. Placitella, I was

 12 moving everybody along quickly --

 13              MR. GORDON:    Understood.

 14              THE COURT:    -- on Tuesday, and we didn’t vet these

 15 arguments.

 16              MR. GORDON:    Sure.

 17              THE COURT:    And given the stage where it’s at there’s

 18 ample time to address it further.

 19              MR. GORDON:    Understood, Your Honor.

 20              THE COURT:    Ms. Cyganowski, I can’t tell, is there

 21 still a hand up?

 22              MS. CYGANOWSKI:     Yes, there is, Your Honor.          Melanie

 23 Cyganowski for the Committee.         I’m not asking for the relief

 24 today, but just to advise the Court that we will be opposing

 25 the debtor’s request for expedited relief with respect to the




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 23 of 27

                                                                                23
  1 hearing on the disclosure and plan.

  2             THE COURT:     The Court has received the debtor’s

  3 motion on shortened time, but I believe the Court did receive

  4 something from your firm, or one of the firms representing the

  5 TCC in opposition.      In all candor, it sits on the corner of my

  6 desk, and I have not looked at it, nor will I through today and

  7 probably through tomorrow.        So if other firms want to weigh in,

  8 one side or the other, they may do so.

  9             MS. CYGANOWSKI:      Thank you.

 10             MR. SATTERLEY:      Your Honor, I have one last question.

 11 Can we -- I know Your Honor said you were going to be away.                 Is

 12 it -- can we have a deadline for the order?           The only thing I’m

 13 afraid of, we can obviously meet and confer today.             Can we

 14 submit by tomorrow competing orders to the extent we can’t

 15 agree on the exact language?        Because I have -- not necessarily

 16 with this debtor, but I have had situations where defendants in

 17 litigation don’t agree, and it just protracts the submission of

 18 the order of the Court.       So I was going to suggest is it

 19 possible we’ll meet and confer this afternoon.            If we can’t

 20 agree to an order by 12 noon tomorrow we can submit competing

 21 orders, and Your Honor decide what’s appropriate?

 22             THE COURT:     My thought is that if you -- let’s see.

 23 I’m trying to make it as expeditious, but I am not sure where I

 24 am going to be during the early part of next week.             So, how

 25 about this?     Do your best to meet and confer, come up with the




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 24 of 27

                                                                                 24
  1 terms.    It shouldn’t be a difficult order.         I have laid it out

  2 subject to anybody’s rights to take an appeal, of course, but

  3 most of it should just be by reference.

  4             And so, you should be able to come up with the terms

  5 of the order.     You can take action as appropriate.

  6             So, if by the close of business on Monday you haven’t

  7 all agreed on a form of order, reach out for chambers.               We’ll

  8 see if we can have a conference call.

  9             MS. BROWN:     Thank you, Your Honor.

 10             MR. STOLZ:     Your Honor, maybe an easier way to -- to

 11 handle it is to have this -- Your Honor’s ruling constitute a

 12 bench order to be followed up by a written order so it’s

 13 effective immediately?

 14             MS. BROWN:     Judge, we’d like the opportunity to

 15 follow your instructions, and we can certainly do so by Monday,

 16 and we’ll reach out if there is an issue.

 17             THE COURT:     I think --

 18             MR. SATTERLEY:      The only problem with that, Your

 19 Honor --

 20             THE COURT:     Go ahead.

 21             MR. SATTERLEY:      -- my clients die.      Every day is

 22 important to my client.       And if I have to make a decision about

 23 an emergency appeal, as I told Your Honor on the 11th, every

 24 single day that goes by my client is -- is closer to being in

 25 the ground, dead, and so I would request -- Your Honor made it




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 25 of 27

                                                                                25
  1 real clear what your order is today.          There’s no reason why we

  2 cannot agree to something this afternoon or tomorrow morning

  3 and submit something to Your Honor.          What -- so, I would -- Mr.

  4 Stolz makes a great point, and I would request that Your Honor

  5 incorporate Mr. Stolz’s request.

  6             MS. BROWN:     Your Honor, there are wide implications

  7 of your order, and we are prepared to follow the Court’s

  8 instruction to immediately meet and confer and get the Court by

  9 Monday a proposed order.

 10             MR. MAIMON:     Your Honor?

 11             THE COURT:     Yes, Mr. Maimon?

 12             MR. MAIMON:     Thank you, Your Honor.       We object to the

 13 debtor stringing this out.        This is -- Your Honor noted that

 14 the delay for claimants should not continue any more as to the

 15 non-debtors, and it should not be that on Monday, first thing,

 16 with Your Honor out of the state, and we don’t know what the

 17 Court’s availability is, that we then have to first start

 18 scheduling conferences.       The Court was very clear with its

 19 decision today.      Mr. Stolz is correct.      It’s standard practice

 20 for courts to issue a bench order that the transcript is the

 21 order of the Court to be followed up with a more formal written

 22 order that can form the basis of any appeals or anything like

 23 that.   But we should be able to proceed in accordance with the

 24 Court’s ruling immediately.

 25             THE COURT:     All right.    Well, in effect I thought I




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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 26 of 27

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  1 was providing Mr. Satterley and others with the authorization

  2 to take this transcript.        A bench order requires the transcript

  3 in the first place.       So, I anticipate that you’re going to be

  4 using the transcript.       If you want the magic language that this

  5 is it’s so ordered from the bench subject to the terms of a

  6 more formal order to be entered at a later date, you have it.

  7             MR. SATTERLEY:      Thank you, Your Honor.

  8             UNIDENTIFIED ATTORNEY:       Thank you, Your Honor.

  9             THE COURT:     All right.    And then I think I wish all

 10 of you a good weekend.

 11             UNIDENTIFIED ATTORNEY:       Enjoy your vacation, Your

 12 Honor.

 13             THE COURT:     Thank you.

 14             UNIDENTIFIED ATTORNEY:       Don’t tell anyone where you

 15 are.

 16             THE COURT:     I should be so lucky.      Thank you.

 17             UNIDENTIFIED ATTORNEY:       Thank you.

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Case 23-12825-MBK   Doc 286-3 Filed 04/24/23 Entered 04/24/23 12:06:09   Desc
                          Exhibit 1 Page 27 of 27

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  1                        C E R T I F I C A T I O N

  2             We, KAREN K. WATSON and TAMMY DERISI, court approved

  3 transcribers, certify that the foregoing is a correct

  4 transcript from the official electronic sound recording of the

  5 proceedings in the above-entitled matter and to the best of our

  6 ability.

  7

  8 /s/ Karen K. Watson

  9 KAREN K. WATSON

 10

 11 /s/ Tammy DeRisi

 12 TAMMY DERISI

 13 J&J Court TRANSCRIBERS, INC.              DATE:    April 20, 2023

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